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                            Exhibit M
     Case 6:07-cv-00204-LED Document 291-14 Filed 03/15/10 Page 2 of 4 PageID #: 16651


Jessica Hannah
From:                           Jeff Rambin
Sent:                           Wednesday, February 24, 2010 2:36 PM
To:                             Jessica Hannah
Subject:                        FW: Sony




From: Heit, Warren S. [mailto:wheit@paloalto.whitecase.com]
Sent: Tuesday, February 02, 2010 7:04 PM
To: Furniss, Daniel J.
Cc: Jeff Rambin
Subject: RE: Sony


Dear Dan,

Pending review of the specific documents, Marvell is willing to agree to stipulate the Sony documents are authentic and that they are
business records. Marvell is expressly not agreeing to the admissibility of these documents and reserves its right to move to exclude
their admission into evidence.

Please send us a draft of the stipulation including the Bates numbers of the documents you would like to be subject to the stipulation.

Regards,

Warren


-----Original Message-----
From: Furniss, Daniel J. [mailto:djfurniss@townsend.com]
Sent: Fri 1/29/2010 6:18 PM
To: Furniss, Daniel J.; Heit, Warren S.
Cc: jrambin@capshawlaw.com
Subject: RE: Sony

Warren,
To be clear we asked for stipulations as to authenticity and that they are business records. We are not asking that any other objection,
such a relevancy be waived. The issues that involve Sony are authenticity and business records which would be the subject of a
deposition. Any other objections would be preserved.
Dan


Daniel J. Furniss
Townsend and Townsend and Crew LLP
379 Lytton Avenue
Palo Alto, CA 94301-1431
(650) 326-2400 Telephone
(650) 326-2422 Fax
djfurniss@townsend.com
www.townsend.com
Offices in:
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________________________________

From: Furniss, Daniel J.
Sent: Friday, January 29, 2010 2:15 PM
To: 'Heit, Warren S.'
Cc: jrambin@capshawlaw.com
Subject: RE: Sony


Thanks, Warren. But absent a stipulation these these are business records and therefore admissible, this does not resolve the issue.
Please reconsider.
Dan

________________________________

From: Heit, Warren S. [mailto:wheit@paloalto.whitecase.com]
Sent: Friday, January 29, 2010 2:12 PM
To: Furniss, Daniel J.
Cc: jrambin@capshawlaw.com
Subject: Re: Sony


Dear Dan,?? ??

Marvell is amenable to stipulating to authentication of a reasonable number of documents. Please provide a list of which Sony
documents you are requesting be stipulated as authentic.?? ??

With respect to your earlier request regarding admissibility of the Sony documents, Marvell will not agree to stipulate to admissibility
of these documents and reserves its right to move to exclude.?? ??

Regards,?? ??

Warren?

________________________________

From: Furniss, Daniel J. <djfurniss@townsend.com>
To: Heit, Warren S.
Cc: Jeff Rambin <jrambin@capshawlaw.com>
Sent: Fri Jan 29 12:58:54 2010
Subject: Sony



Warren,
Any word from your client on this. It seems a waste of time and money given that these are all publicly availabe documents.

Dan



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